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LLP
ABBE DAVID LOWELL
September 6, 2023
VIA ECE eee
APPLICATION GHAN Tit
Hon. John G, Koeltl ~ &8O ORQERED
United States District Court a oN 4 i 4
Southern District of New York . ay & CEP
500 Pearl Street ab Sain @ Mootle ssn
New York, NY 10007 a 7/, 2 omnes

Re: Banco San Juan Internacional, Inc. v. the Federal Reserve Bank of New York
and the Board of Governors of the Federal Reserve System, No. 1:23-cy-6414

(JGK)
Dear Judge Koeltl:

Counsel for Plaintiff Banco San Juan Internacional, Inc. (““BSJI”) writes pursuant to
Section VI.2 of the Court’s Individual Practices to request leave to file under seal certain
information in support of BSJI’s brief in further support of its motion for a preliminary injunction,
filed September 6, 2023 (“Reply Brief”). The parties have conferred and Defendants do not object
to this motion.

In particular, BSJI seeks permission to file the following documents under seal or with
appropriate redactions: (1) Reply Brief, (2) Exhibits A and B to Declaration of Abbe D. Lowell in
Support of Plaintiff’s Reply Brief, (3) Supplemental Declaration of Hector J, Vazquez and
accompanying Exhibits A-G, (4) Second Supplemental Declaration of Christopher Laursen and
accompanying Exhibits A and B, and (5) Exhibit A to AML RightSource Independent Review
Audit Report Attestation.

These materials contain non-public, commercial information about BSJI, including recent
financial data, information about its compliance program, references to supervisory information,
information specific to BSJI’s customers and customer transaction activity, and information from
or shared with BJSP’s Supervisor, the Office of the Commissioner of Financial Institutions of
Puerto Rico (“OCIF”). Courts enjoy broad discretion in sealing documents upon a showing of
good cause. See, e.g., Geller v. Branic Int’l Realty Corp., 212 F.3d 734, 738 (2d Cir. 2000).

At the outset of this matter, before it was assigned to Your Honor, the Honorable Judge
Loretta Preska found good cause existed to keep these types of materials under seal and BSJI
received permission to redact or file under seal highly sensitive, confidential information
concerning BSJI’s operations, clients, and interactions with its regulator. On July 24, 2023, Judge
Preska found that, “the bank secrecy laws of Puerto Rico prohibit disclosure of confidential BSJI
customer account information” and that “Second Circuit precedent protects BSJI customers’

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Counsel for All Parties (via ECF)

Hon. John G. Koeltl
September 6, 2023
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